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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND


SARRESE J. BRADLEY
15 Norris Drive
Bristol, Connecticut 06010
                                              Case No. 1:15-cv-3266
      and
                                            JURY TRIAL DEMANDED
SARRESE J. BRADLEY and
PATRICE ANDERSON,
as Husband and Wife
15 Norris Drive
Bristol, Connecticut 06010

      Plaintiffs

v.

BALTIMORE WASHINGTON
MEDICAL CENTER, INC.
c/o Neal Brown, Esquire
1301 York Road, Suite 300
Lutherville, Maryland 21093

and

BALTIMORE WASHINGTON
EMERGENCY PHYSICIANS, INC.
c/o Neal Brown, Esquire
1301 York Road, Suite 300
Lutherville, Maryland 21093

and

STEVEN J. ABERT, M.D.
c/o Neal Brown, Esquire
1301 York Road, Suite 300
Lutherville, Maryland 21093

and
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 ARUNDEL PHYSICIANS
 ASSOCIATES, L.L.C. T/A
 UNIVERSITY OF MARYLAND
 BALTIMORE WASHINGTON
 PRIMARY CARE
 c/o Neal Brown, Esquire
 1301 York Road, Suite 300
 Lutherville, Maryland 21093

 and

 SANDEEP PANDOVE, M.D.
 c/o Neal Brown, Esquire
 1301 York Road, Suite 300
 Lutherville, Maryland 21093

        Defendants


                 COMPLAINT AND ELECTION FOR JURY TRIAL

       Plaintiffs, Sarrese Bradley, Individually, and Sarrese Bradley and Patrice Anderson,

as husband and wife, by their attorneys, E. Dale Adkins, III, Ryan S. Perlin and Salsbury,

Clements, Bekman, Marder & Adkins, L.L.C., file this Complaint and Election for Jury

Trial against the Defendants, Baltimore Washington Medical Center, Inc., Baltimore

Washington Emergency Physicians, Inc., Steven J. Abert, M.D., Arundel Physicians

Associates, L.L.C. T/A University of Maryland Baltimore Washington Primary Care, and

Sandeep Pandove, M.D., and state:




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                              JURISDICTION AND VENUE

       1.       This Court has diversity jurisdiction under 28 U.S.C. § 1332(a) because the

amount in controversy exceeds $75,000, exclusive of interest and costs, the Plaintiffs and

Defendants are citizens of different States.

       2.     A Statement of Claim was filed with the Health Care Alternative Dispute

Resolution Office as required under Maryland law, and arbitration of the claim was waived

by the Plaintiffs pursuant to ' 3-2A-06B(b) of the Courts and Judicial Proceedings Article.

The Waiver of Arbitration and the Certificates of Qualified Expert and Report which were

filed before the Health Care Alternative Dispute Resolution Office are attached as Exhibit

1, Exhibit 2, Exhibit 3 and Exhibit 4 respectively.

       3.       Plaintiffs have complied with all conditions precedent and all such conditions

precedent have been performed or have occurred.

                                       THE PARTIES

       4.       The Plaintiffs, currently and throughout the events set forth in this

Complaint, have resided in Connecticut, and therefore are considered citizens of

Connecticut.

       5.       The Defendants reside or have their principal places of business in Maryland,

and therefore are considered citizens of Maryland.

       6.       At all times hereinafter set forth, the Defendant, Baltimore Washington

Medical Center, Inc. (“BWMC”), was and is a medical facility offering medical and other

related services to the general public and in such capacity, such hospital, its agents, servants

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and/or employees, medical and administrative staff, and consultants held themselves out

as practicing ordinary standards of medical, hospital, radiologic, surgical, nursing,

emergency, and pathologic care and, as such, owed a duty to the Plaintiffs to render and

provide health care within the ordinary standards of medical, hospital, and emergency care,

and to exercise reasonable skill and care in the selection of its personnel to provide

competent physicians and emergency physicians and other medical and administrative

personnel, possessing that degree of skill and knowledge which is ordinarily possessed by

those who devote special study and attention to the practices of emergency medicine, and

to supervise and provide Claimant with diagnostic and medical services and treatment

commensurate with the condition from which the patient suffered and for which patient

entered said hospital.

       7.       At all times hereinafter set forth, the Defendant, Baltimore Washington

Emergency Physicians, Inc. (“BWEP”), was and is a professional corporation, which, at

all times relevant to this Complaint and Election for Jury Trial, offered emergency

medicine and other related services to the general public at the University of Maryland

Baltimore Washington Medical Center and in such capacity, this professional corporation,

its agents, servants, and/or employees, medical staff, and consultants, held themselves out

as practicing ordinary standards of medical and health care and, in such capacity, had a

duty to Plaintiffs to render and provide health care to Sarrese Bradley within the ordinary

standards of medical and health care and to exercise reasonable skill and care in the

selection of its personnel to provide competent physicians, and other medical and

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administrative personnel and consultants, possessing that degree of skill and knowledge

which is ordinarily possessed by those who devote special study and attention to the

practice of medicine and to supervise and provide the Plaintiff those medical and diagnostic

services and the treatment commensurate with the condition from which Plaintiff suffered

and for which he sought treatment.

       8.       At all times hereinafter set forth, the Defendant, Steven J. Abert, M.D. (“Dr.

Abert”), held himself out to the Plaintiffs and to the general public as an experienced,

competent and able physician possessing or providing that degree and skill and knowledge

which is ordinarily possessed by those who devote special study and attention to the

practice of emergency medicine, and as such, had a duty to the Plaintiffs to render that

degree of care and treatment to Sarrese Bradley which is ordinarily rendered by those who

devote special study and attention to the practice of emergency medicine.

       9.       At all times hereinafter set forth, the Defendant, Arundel Physicians

Associates, L.L.C. T/A University of Maryland Baltimore Washington Primary Care

(“BWPC”), was and is a professional corporation which, at all times relevant to this

Complaint and Election for Jury Trial, offered internal medicine and other related services

to the general public and in such capacity, this professional corporation, its agents, servants,

and/or employees, medical staff, and consultants, held themselves out as practicing

ordinary standards of medical and health care and, in such capacity, had a duty to Sarrese

Bradley to render and provide health care within the ordinary standards of medical and

health care and to exercise reasonable skill and care in the selection of its personnel to

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provide competent physicians, and other medical and administrative personnel and

consultants, possessing that degree of skill and knowledge which is ordinarily possessed

by those who devote special study and attention to the practice of medicine and to supervise

and provide its patients those medical and diagnostic services and treatment commensurate

with the condition from which Sarrese Bradley suffered and for which he sought treatment.

       10.    At all times hereinafter set forth, the Defendant, Sandeep Pandove, M.D.

(“Dr. Pandove”), held himself out to the Plaintiffs and to the general public as an

experienced, competent and able physician possessing or providing that degree and skill

and knowledge which is ordinarily possessed by those who devote special study and

attention to the practice of internal medicine, and as such, had a duty to the Plaintiffs to

render that degree of care and treatment to Sarrese Bradley which is ordinarily rendered to

those who devote special study and attention to the practice of medicine and internal

medicine.

       11.    At all times hereinafter set forth, all physicians, nurses, and/or other

individuals staffing the Baltimore Washington Medical Center emergency department

were agents and/or apparent agents, servants, or employees of Defendants, Baltimore

Washington Medical Center, Inc. and Baltimore Washington Emergency Physicians, Inc.

including, but in no way limited to, Steven J. Abert, M.D.

       12.    At all times hereinafter set forth, all physicians, nurses, and/or other

individuals staffing the practice known as University of Maryland Baltimore Washington

Primary Care were agents and/or apparent agents, servants, or employees of Defendants,

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Baltimore Washington Medical Center, Inc., Baltimore Washington Emergency

Physicians, Inc., and Arundel Physicians Associates, L.L.C. T/A University of Maryland

Baltimore Washington Primary Care including, but in no way limited to, Sandeep Pandove,

M.D.

       13.    In the morning on June 21, 2012, the Plaintiff, Sarrese Bradley called an

ambulance after feeling something “pop” in his lower back. The ambulance personnel

recorded that Mr. Bradley was unable to stand because of back pain and injury to his pelvis.

Mr. Bradley was taken by ambulance to the emergency department of BWMC and arrived

at approximately 7:13 a.m.

       14.    Mr. Bradley was seen in the emergency department by Mary Bradley, R.N.

(no relation) at approximately 7:22 a.m. Nurse Bradley recorded that Mr. Bradley reported

sharp, throbbing lower back pain and difficulty moving since feeling a “pop” in his lower

back earlier that morning.     Nurse Bradley documented that Mr. Bradley now had

numbness, tingling, and weakness radiating down to his legs and feet. Mr. Bradley was

noted to be diaphoretic due to pain, which was documented as 12/10.

       15.    Mr. Bradley was also seen by Defendant, Dr. Abert. Through a scribe

(Ashley Larsen), Dr. Abert recorded that, “Pt was getting ready for work this AM getting

dressed when he felt a pop in his back, c/o severe low back pain radiating down both legs

to his feet with tingling in both legs.” Mr. Bradley was also noted to have had tingling

down both legs, which was worsened by movement and relieved by nothing.




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       16.    Dr. Abert performed a physical examination which was noted to be positive

for decreased range of motion. There was no examination performed to determine whether

Mr. Bradley’s complaints were associated with spinal cord or nerve root compression

leading to cauda equina syndrome.

       17.    While in the emergency department, there was no evaluation of Mr.

Bradley’s reflexes, there was no examination of Mr. Bradley’s perineum or rectum for

neurologic response, and no imaging studies were ordered.

       18.    Mr. Bradley requested that Dr. Abert order an MRI, but Mr. Bradley was told

that if he wanted one, he would need to get it on his own.

       19.    Mr. Bradley was discharged from the emergency department at

approximately 9:06 a.m. on June 21, 2012 without any radiologic studies having been

performed to assess the condition of Mr. Bradley’s spinal cord or spinal nerve roots, and

without any consultation with a neurosurgeon or spinal surgeon.

       20.    Mr. Bradley was discharged with instructions to follow up with BWPC

within two to three days. When Mr. Bradley asked why he was being discharged, he was

told, “we need the bed.” Mr. Bradley was instructed to get an MRI, but was told that the

hospital could not perform an MRI without a primary care physician’s order.

       21.    Later that afternoon, Mr. Bradley presented to Arundel Physicians

Associates, L.L.C. T/A University of Maryland Baltimore Washington Primary Care

(hereinafter, “BWPC”) at approximately 3:21 p.m. He was seen by Sandeep Pandove,

M.D., an internist.

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       22.    Dr. Pandove recorded Mr. Bradley’s pain as 10/10 and noted that despite Mr.

Bradley’s complaints, the emergency department did not obtain an MRI when Mr. Bradley

was there earlier that day. He did not elicit an appropriate history concerning the effects

of Mr. Bradley’s complaints.

       23.    Dr. Pandove performed a physical examination, but did not perform an

examination to determine whether Mr. Bradley’s complaints were associated with spinal

cord compression. Dr. Pandove did not evaluate Mr. Bradley’s motor strength or reflexes,

did not evaluate Mr. Bradley’s sensation, strength or gait in his lower extremities, did not

examine Mr. Bradley’s perineum or rectum for neurologic response, and did not perform

an adequate neurologic examination.

       24.    Dr. Pandove did not make efforts to determine whether Mr. Bradley’s

complaints were associated with spinal cord or nerve root compression leading to cauda

equina syndrome.

       25.    Dr. Pandove attempted to have Mr. Bradley obtain an MRI that afternoon,

but because the radiology center could not schedule Mr. Bradley, Dr. Pandove simply

instructed Mr. Bradley to obtain an MRI the next day.

       26.    Mr. Bradley returned to the hotel at which he was staying and fell asleep. He

awoke at approximately 11:30 p.m. and realized that he had urinated on himself during his

sleep. He went directly to the BWMC emergency department, arriving at approximately

11:58 p.m.




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         27.   Mr. Bradley was seen in the emergency department by Ketaki Abhyankar,

M.D. Through his scribe (Alexander Engelmann), Dr. Abhyankar recorded that Mr.

Bradley had a “mixture of numbness and pain in [bilateral lower extremities].” Dr.

Abhyankar also recorded that Mr. Bradley was numb in his legs and pelvis, had urinary

incontinence, had decreased rectal tone, and had motor deficits. Dr. Abhyankar ordered an

MRI, which was performed at approximately 5:14 a.m. and interpreted by Morris Gavant,

M.D.

         28.   Mr. Bradley’s clinical history according to Dr. Gavant was “suspected cord

compression” based on “low back pain with bilateral lower extremity numbness.” Dr.

Gavant reported that the MRI showed spinal stenosis at the L2-L3, L3-L4, L4-L5, and L5-

S1 levels.     At the L4-L5 level, Dr. Gavant reported a central soft disc herniation

superimposed on a subjectively developmentally small spinal canal. At the L5-S1 level,

Dr. Gavant reported a right paracentral to right lateral soft disc herniation superimposed on

a mild circumferential spondylitic change and subjectively developmentally small spinal

canal.    At the L2-L3 and L3-L4 levels, Dr. Gavant reported ligamentum flavum

hypertrophy and a subjectively developmentally small spinal canal.

         29.   Mr. Bradley was seen in the emergency department by neurosurgeon, Amiel

Bethel, M.D. Dr. Bethel reported that Mr. Bradley’s radiology showed degenerative disk

at the L4-5 and L5-S1 levels with a massively herniated central disk at L5-S1 causing

almost complete 100% compromise of the canal space. Dr. Bethel diagnosed Mr. Bradley




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with disk spondylosis and disk herniation L5-S1 with cauda equina syndrome and

recommended emergent surgery, to which Mr. Bradley agreed.

       30.    Mr. Bradley was taken to the operating room at approximately 9:55 a.m.,

where Dr. Bethel performed a three-hour procedure involving L5 bilateral laminectomies,

L4 bilateral laminectomies, inferior L3 laminectomy, L4-5 medial facetectomies bilateral

with foraminotomies, L5-S1 medial facetectomies with foraminotomies bilateral, and L5-

S1 diskectomy under the operative microscope bilateral with removal of a massive

extruded fragment.

       31.    Mr. Bradley was discharged on June 25, 2012.

       32.    Despite aggressive therapy to maximize function, Mr. Bradley experienced

continued pain and numbness in his lower back radiating down to his legs. A subsequent

MRI in September revealed another central disc herniation at L4-L5 with facet arthropathy

and central stenosis at L5-S1 with facet arthropathy.

       33.    On November 27, 2012, Mr. Bradley underwent L4 and L5 laminectomies

with complete removal of the left L4-L5 and L5-S1 facet joints along with posterolateral

arthrodesis at L4-L5 and L5-S1 with posterior interbody fusion and pedical screw

instrumentation.

       34.    Despite aggressive therapy to maximize function, Mr. Bradley has continued

to experience ongoing pain, numbness, and weakness in both legs as well as gait instability.

He has also experienced difficulty urinating and sexual dysfunction.




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             COUNT I (Negligence against BWMC, BWEP, and Dr. Abert)

       35.    Plaintiffs allege that Defendants, Baltimore Washington Medical Center,

Inc., Baltimore Washington Emergency Physicians, Inc., and Steven J. Abert, M.D.,

individually or through their agents, servants, and/or employees, were negligent and

careless in that they:

              a. Failed to obtain an MRI on June 21, 2012 while Mr. Bradley was in the

                 emergency department at BWMC;

              b. Failed to consult with a neurosurgeon or spinal surgeon on June 21, 2012

                 while Mr. Bradley was in the emergency department of BWMC;

              c. Failed to recognize, assess, and address the signs and symptoms of

                 developing spinal cord and nerve root compression leading to cauda

                 equina syndrome while Mr. Bradley was in the emergency department at

                 BWMC on June 21, 2012;

              d. Failed to perform a neurological examination, examination of the

                 perineum and rectum, and/or sensory examination while Mr. Bradley was

                 in the emergency department at BWMC on June 21, 2012;

              e. Failed to obtain an adequate history of the patient’s condition and relevant

                 symptoms;

              f. Discharged Mr. Bradley from BWMC on June 21, 2012;

              g. Failed to obtain timely surgical intervention prior to June 22, 2012 at 9:55

                 a.m.;

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             h. Failed to employ adequate diagnostic procedures and tests to determine

                 the nature and severity of the medical status and/or conditions of Mr.

                 Bradley on June 21, 2012;

             i. Failed to exercise reasonable care in the timely and careful diagnosis of

                 Mr. Bradley’s condition;

             j. Were otherwise negligent and careless, to be determined in the course of

                 discovery.

       36.    As a direct result of the negligence of the Defendants as set forth herein, Mr.

Bradley was caused to suffer painful and permanent injuries to his body, was caused to

sustain severe mental anguish and emotional pain and suffering, was caused to incur

hospital expenses, medical expenses, and was caused to incur other financial losses.

       37.    As a further direct result of the negligence of the Defendants as set forth

herein, Mr. Bradley will require in the future additional hospital and medical care, will be

unable to engage in any normal activities, employments and pursuits, will sustain a total

loss of earnings and earning capacity, and will otherwise suffer pain, personal injury and

both economic and noneconomic damages.

              COUNT II (Negligence against BWPC and Dr. Pandove)

       38.    Plaintiffs allege that Defendants, Arundel Physicians Associates, L.L.C. T/A

University of Maryland Baltimore Washington Primary Care and Sandeep Pandove, M.D.,

individually or through their agents, servants, and/or employees, were negligent and

careless in that they:

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    a. Failed to order an urgent MRI on June 21, 2012 after Mr. Bradley was

       seen and examined by Dr. Pandove;

    b. Failed to refer Mr. Bradley urgently back to the emergency department at

       BWMC after seeing and examining him on June 21, 2012;

    c. Failed to refer Mr. Bradley for an urgent neurological or neurosurgical

       examination after seeing and examining him on June 21, 2012;

    d. Failed to perform a neurological examination, examination of the

       perineum and rectum, sensory examination, or gait and station assessment

       while Mr. Bradley was at BWPC in the afternoon on June 21, 2012;

    e. Failed to obtain an adequate history of the patient’s condition and relevant

       symptoms;

    f. Failed to recognize, assess, and address the signs and symptoms of

       developing spinal cord or nerve root compression leading to cauda equina

       syndrome while Mr. Bradley was seen at BWPC on June 21, 2012;

    g. Failed to employ adequate diagnostic procedures and tests to determine

       the nature and severity of the medical status and/or conditions of Mr.

       Bradley on June 21, 2012;

    h. Failed to exercise reasonable care in the timely and careful diagnosis of

       Mr. Bradley’s condition;

    i. Were otherwise negligent and careless, to be determined in the course of

       discovery.

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       39.    As a direct result of the negligence of the Defendants as set forth herein, Mr.

Bradley was caused to suffer painful and permanent injuries to his body, was caused to

sustain severe mental anguish and emotional pain and suffering, was caused to incur

hospital expenses, medical expenses, and was caused to incur other financial losses.

       40.    As a further direct result of the negligence of the Defendants as set forth

herein, Mr. Bradley will require in the future additional hospital and medical care, will be

unable to engage in any normal activities, employments and pursuits, will sustain a total

loss of earnings and earning capacity, and will otherwise suffer pain, personal injury and

both economic and noneconomic damages.

                COUNT III (Loss of Consortium against all Defendants)

       41.    Plaintiffs, Sarrese Bradley and Patrice Anderson, as husband and wife,

incorporate by reference all the allegations set forth in the previous paragraphs as if fully

set forth herein.

       42.    At all relevant times, Plaintiffs, Sarrese Bradley and Patrice Anderson, were

and are married.

       43.    As a direct and proximate result of the Defendants’ negligence, Plaintiffs

were, are, and may continue to be deprived of the consortium, society, assistance, and

support of their spouse, which has been, and which will continue to be to their great

financial, physical, emotional, and psychological damage and loss.

       44.    As a further direct and proximate result of the Defendants’ negligence, the

Plaintiffs have jointly suffered loss of consortium and services and interference with and

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injury to their marital relationship.

       45.    All of the damages, losses, and injuries sustained by the Plaintiffs resulted

directly and proximately from the negligence, carelessness, and wrongful acts and

omissions of the Defendants.

                                 REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs, individually and as husband and wife, claim damages

against the Defendants in an amount to be determined by a jury.




                                                 /s/ E. Dale Adkins, III
                                                 E. Dale Adkins, III (Bar No. 01425)
                                                 adkins@scbmalaw.com



                                                 ____________________________
                                                 Ryan S. Perlin (Bar No. 20840)
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                                                       MARDER & ADKINS LLC
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